        Case 1:21-mi-55555-JPB Document 661 Filed 09/26/23 Page 1 of 4




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

                                                              Master Case No.
 IN RE GEORGIA SENATE BILL 202
                                                            1:21-MI-55555-JPB



      UNITED STATES’ NOTICE OF ERRATA TO PLAINTIFFS’
      MEMORANDUM IN SUPPORT OF THEIR MOTION FOR
          PRELIMINARY INJUNCTION (ECF NO. 566-1)
   AND REPLY BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION FOR
           PRELIMINARY INJUNCTION (ECF NO. 617)

      Plaintiff the United States of America respectfully submits the following

errata to substitute citations to the deposition testimony of Mrs. Helen H. Lockette

for the two citations to Mrs. Lockette’s declaration in Plaintiffs’ opening and reply

briefs in support of their Motion for Preliminary Injunction. Pursuant to the

Parties’ agreement during the Hearing on Plaintiffs’ Motion for Preliminary

Injunction, the United States has withdrawn Exhibit 16 (Declaration of Mrs. Helen

H. Lockette) and is providing substitute citations to Mrs. Lockette’s deposition in

lieu of the two citations to her declaration in Plaintiffs’ briefing. See ECF No. 659.

      Attached hereto is substitute page 36 to Plaintiffs’ Memorandum in Support

of Their Motion for Preliminary Injunction (ECF No. 566-1) (Attachment A),

substitute page 33 to Plaintiffs’ Reply in Support of Their Motion for Preliminary

Injunction (ECF No. 617) (Attachment B), and new Exhibit 150 in support of their




                                          1
       Case 1:21-mi-55555-JPB Document 661 Filed 09/26/23 Page 2 of 4




Motion for Preliminary Injunction, which contains the cited excerpts of the

Deposition of Helen H. Lockette, taken April 14, 2023 (Attachment C).



Date: September 26, 2023

                                             Respectfully submitted,

RYAN K. BUCHANAN                             KRISTEN CLARKE
United States Attorney                       Assistant Attorney General
Northern District of Georgia                 Civil Rights Division

/s/ Aileen Bell Hughes                       /s/ Rachel R. Evans
AILEEN BELL HUGHES                           T. CHRISTIAN HERREN, JR.
Georgia Bar No. 375505                       JOHN A. RUSS IV
Assistant U.S. Attorney                      JASMYN G. RICHARDSON
Office of the United States Attorney         RACHEL R. EVANS
600 U.S. Courthouse                          ERNEST A. MCFARLAND
75 Ted Turner Drive, SW                      MAURA EILEEN O’CONNOR
Atlanta, GA 30303                            ELIZABETH M. RYAN
Phone: (404) 581-6000                        SEJAL JHAVERI
Fax: (404) 581-6181                          J. ERIC RICH
                                             Attorneys, Voting Section
                                             Civil Rights Division
                                             U.S. Department of Justice
                                             4 Constitution Square
                                             150 M Street NE, Room 8.137
                                             Washington, D.C. 20530
                                             Phone: (800) 253-3931
                                             Fax: (202) 307-3961
                                             rachel.evans@usdoj.gov


Attorneys for the United States of
America




                                         2
       Case 1:21-mi-55555-JPB Document 661 Filed 09/26/23 Page 3 of 4




     CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(D)

      Pursuant to Local Rule 7.1(D), I certify that the foregoing document was

prepared in Times New Roman 14-point font in compliance with Local

Rule 5.1(C).

                                            /s/ Rachel R. Evans
                                            RACHEL R. EVANS
                                            Attorney, Voting Section
                                            Civil Rights Division
                                            U.S. Department of Justice
        Case 1:21-mi-55555-JPB Document 661 Filed 09/26/23 Page 4 of 4




                           CERTIFICATE OF SERVICE

      I hereby certify that on September 26, 2023, I electronically filed the

foregoing with the clerk of the court using the CM/ECF system, which will send

notification of this filing to counsel of record.

                                                /s/ Rachel R. Evans
                                                RACHEL R. EVANS
                                                Attorney, Voting Section
                                                Civil Rights Division
                                                U.S. Department of Justice
